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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
       __________________________________________
       SANDRA GARZA, as                           )
       the personal representative                )
                                           1
       of THE ESTATE OF BRIAN SICKNICK            )
                                                  )
                      Plaintiff,                  )
                                                  )
               v.                                 )
                                                  )
       DONALD J. TRUMP                            )
       (in his personal capacity)                 )
       The Mar-A-Lago Club                        )
       1100 S. Ocean Blvd.                        ) Case No. 1:23-cv-00038 (APM)
       Palm Beach, Florida 33480                  )
                                                  )
               and                                )
                                                  )
       JULIAN ELIE KHATER                         )
       [Address withheld]                         )
                                                  )
               and                                )
                                                  )
       GEORGE PIERRE TANIOS                       )
       [Address withheld]                         )
                                                  )
                      Defendants.                 )
                                                  )

                              FIRST AMENDED COMPLAINT
                                (JURY TRIAL DEMANDED)

       1.      The peaceful transfer of power is a sacrament of American democracy.

Defendant Donald Trump (“Trump”), together with other co-conspirators, defiled that orderly

transition through a campaign of lies and incendiary rhetoric which led to the ransacking of the

United States Capitol as part of an insurrectionist effort on January 6, 2021, by Defendants Julian




1
 Pursuant to LCvR 5.1(c)(1), as revised March 23, 2022, the Plaintiff’s address is being filed
under seal with the Court in a separate Notice of Filing.
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Khater (“Khater”) and George Tanios (“Tanios”), and many others. That attack on the United

States Capitol cost U.S. Capitol Officer Brian Sicknick (“Officer Sicknick”), who was bravely

defending the cradle of American Democracy, his life.

         2.     Although it is beyond question Defendant Trump lost the 2020 presidential

election, he still remains unwilling to accept defeat. He lied to his followers by, among other

things, telling them that the certification of Joe Biden’s election was a “coup” and that their

country was being stolen from them. He filed dozens of frivolous lawsuits, all of which

substantively failed. And he tried to intimidate state officials, none of whom caved to the

pressure. Out of options and out of time, Defendant Trump finally called his supporters to

Washington, D.C., on the day Congress met to certify President-elect Biden’s win, telling them

to “Stop the Steal” and that the day “will be wild.” Tens of thousands of his supporters came to

the District in response, including Defendants Khater and Tanios. Some, including Defendants

Khater and Tanios, planned violence at the Capitol in advance; some were stirred to violence by

Trump’s words on that day.

         3.     Defendant Trump implored the crowd to “fight like hell” and “walk down

Pennsylvania Avenue . . . to the Capitol.” According to an analysis of cell phone location data,

approximately 40% of the rally attendees did just that.2

         4.     As a direct and foreseeable consequence of Defendant Trump’s false and

incendiary allegations of fraud and theft, and in direct response to Defendant Trump’s express

calls for violence at the rally, a violent mob attacked the U.S. Capitol. Many participants in the

attack have since revealed that they were acting on what they believed to be Defendant Trump’s

direct orders in service of their country.



2
    https://www.nytimes.com/2021/02/05/opinion/capitol-attack-cellphone-data.html.
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       5.      The mob temporarily disrupted the certification of the vote in the Electoral

College. Rioters threatened to hang Vice President Mike Pence and kill the Speaker of the

House, Nancy Pelosi, and they terrorized and injured scores of others, including Officer

Sicknick.

       6.      As Officer Sicknick and hundreds of others—including other police officers,

elected officials, and rank-and-file workers at the Capitol—were put in mortal danger, and as the

seat of American Democracy was desecrated by the insurgent mob, Defendant Trump watched

the events unfold on live television from the safety of the White House. Those with knowledge

claimed that during this moment of national horror, Defendant Trump was “delighted” and was

“confused about why other people on his team weren’t as excited as he was.” Others described

Defendant Trump as “borderline enthusiastic” about the unfolding violence.

       7.      The horrific events of January 6, 2021, including Officer Sicknick’s tragic,

wrongful death, were a direct and foreseeable consequence of the Defendants’ unlawful actions.

As such, the Defendants are responsible for the injury and destruction that followed.

                                               I.
                                            PARTIES

       8.      Plaintiff Sandra Garza is the personal representative for the Estate of Brian

Sicknick. She is named in his last will and testament as his domestic partner and as executor of

the will. On March 25th, 2021, she was duly qualified as the Executor for the Estate of Brian

Sicknick in the Circuit Court of Fairfax County, Virginia.

       9.      Defendant Donald J. Trump was the 45th President of the United States. He has a

lengthy history of normalizing violence through his rhetoric and social media communications.

After losing the 2020 presidential election to now-President Biden, Defendant Trump and others

conspired to undermine the election results by alleging, without evidence, that the election had

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been rigged and by pressuring elected officials, courts, and ultimately Congress to reject the

results.

           10.   Defendant Trump also promoted and spoke at the January 6th rally outside the

White House— the culmination of a coordinated effort to subvert the certification vote. He

encouraged his followers—including Defendants Khater and Tanios—to come to Washington,

D.C., on January 6, 2021, and he encouraged them to go to the Capitol to “fight like hell.”

Defendant Trump directly incited the violence at the Capitol that followed and then watched

approvingly as the building was overrun.

           11.   Defendant Trump did all these things solely in his personal capacity for his own

personal benefit and/or his own partisan aims.

           12.   Defendants Julian Khater and George P. Tanios live in Somerset, New Jersey, and

Morgantown, West Virginia, respectively.

           13.   On January 5, 2021, Defendant Khater contacted Defendant Tanios just prior to

Tanios’ purchase of Frontiersman brand bear spray and pepper spray. Defendant Tanios gave

some of the pepper spray to Defendant Khater, which Khater then carried with him as the two

travelled from Morgantown to Washington, D.C., the next day.

           14.   In Washington, Defendants Khater and Tanios were among the people who

stormed the Capitol on January 6, 2021. In an effort to gain entrance to the building, they

confronted law-enforcement officers guarding the Lower West Terrace, including Officer Brian

Sicknick. Defendants Khater and Tanios assaulted officers with their hands and feet. From less

than 8 feet away, Defendant Khater sprayed Officer Sicknick in the face with chemical spray

provided by Defendant Tanios.




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          15.   On July 20, 2022, Defendant Tanios pled guilty to Entering and Remaining in a

Restricted Building or Grounds in violation of 18 U.S.C. § 1752(a)(2) and (b)(2). In his factual

proffer, Defendant Tanios admitted to accompanying Defendant Khater to the January 6th rally in

D.C. and admitted to purchasing and carrying the chemical spray Defendant Khater used on

Officer Sicknick. On August 26, 2022, Defendant Khater pled guilty to Assaulting, Resisting, or

Impeding Certain Officers Using a Dangerous Weapon (namely, a chemical spray), in violation

of 18 U.S.C. § 111(a)(1) and (b). Officer Sicknick was one of the officers Defendant Khater

admitted he assaulted as a part of his guilty plea. Both men have been sentenced for these

crimes.

                                            II.
                                 JURISDICTION AND VENUE

          16.   This Court has subject matter jurisdiction over this case because the Plaintiff’s

federal conspiracy claim arises under the laws of the United States. It has jurisdiction over the

Plaintiff’s state law claims because they are so closely related to the federal claims as to form

part of the same case or controversy. See 28 U.S.C. §§ 1331, 1367; 42 U.S.C. § 1985.

          17.   This Court has personal jurisdiction over all the Defendants because their actions

were committed in the District of Columbia. See Fed. R. Civ. P. 4(k)(1)(A); D.C. Code § 13-

423.

          18.   Venue is proper in this Court because a substantial part of the conduct giving rise

to the claims in the case, including the violent attack on the Capitol occurred in the District of

Columbia. See 28 U.S.C. § 1391(b)(2).




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                                        III.
                           RELEVANT FACTUAL BACKGROUND

        19.   Officer Sicknick joined the United States Capitol Police in July 2008 and was a

member of that Department’s First Responder’s Unit. Before joining the U.S. Capitol Police,

Officer Sicknick served in the New Jersey Air National Guard and had deployed overseas in

support of U.S. military missions.

       20.    On January 6, 2021, Officer Sicknick was part of a police line guarding the

perimeter of the Lower West Terrace of the U.S. Capitol.

         Defendant Trump’s Deliberate Efforts to Undermine the Election Results

        21.   Months before a single poll had opened for the 2020 election, Defendant Trump

began accusing Democrats of trying to “steal the election,” calling the lawful state decisions

about how to conduct an election in the midst of a world-wide pandemic—supervised, where

appropriate, by the courts—“the scandal of our times”:




        22.   Democrats more so than Republicans chose to vote by mail given the starkly

partisan views of the Covid-19 pandemic. Where most Republican leaders urged supporters to

vote in person, Democratic leaders sought to prioritize safety and social distancing and

encouraged people to vote by mail. Mail-in ballots were often counted much later than in-

person ballots. Of the battleground states that largely decided the 2020 election—Pennsylvania,

Wisconsin, Michigan, Ohio, Georgia, Nevada, and Arizona—Pennsylvania and Wisconsin do


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not begin processing mail-in ballots until election day, and only Arizona and Nevada began

counting mail-in ballots earlier than election day.

          23.    While Defendant Trump led in the early returns on election day, toward the end of

that day, the returns moved in Biden’s direction, as most pundits and analysts had predicted, and

Defendant Trump’s lead substantially dwindled. As his outlook soured over this news,

Defendant Trump renewed his claims of voter fraud.

          24.    At 12:49 a.m., on November 4, Defendant Trump took to Twitter to accuse

unnamed individuals from attempting to steal his victory.




          25.    A little more than an hour later, in televised remarks from the East Room of the

White House, Defendant Trump accused a “very sad group of people” of “trying to

disenfranchise” the millions of people who had voted for him.

          26.    Later in the day, Defendant Trump doubled down on his claims of fraud, falsely

declaring victory in the battlegrounds of Pennsylvania, Georgia, North Carolina, and Michigan,

even as hundreds of thousands of votes in those states were still being counted and the polls

were showing an increasing advantage for Biden.3




3
    Biden eventually won three of these four states, claiming Pennsylvania, Michigan, and Georgia.
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       27.    The following morning, November 5, less than 48 hours after the polls had closed,

Defendant Trump tweeted “Stop the Count” and “Stop the Fraud”—slogans that were frequently

repeated throughout the day on January 6th prior to and during the attack on the U.S. Capitol.




       28.    Defendant Trump gave his first prime-time speech after the election from the

White House in the evening of November 4. He opened his remarks to the nation with the false

assertion, “If you count the legal votes, I easily win. If you count the illegal votes, they can try

to steal the election from us.” He echoed that sentiment on Twitter shortly thereafter:




       29.    Defendant Trump’s allegations of wrongdoing in those first days after the election

sparked confrontations nationwide between his supporters and election officials:




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       30.    It did not take long for Defendant Trump to begin directing his criticisms at

individual elected officials. His supporters, in turn, began targeting those officials for

harassment and threats. For example, armed supporters of Defendant Trump who were

encouraged by him actually surrounded the home of the Michigan Secretary of State, while

Trump-supporting militias demanded a “citizen tribunal” at the Georgia Capitol.

       31.    President Biden won the states of Arizona and Georgia. Yet, in the first half of

December, Defendant Trump attacked the Republican governors of these states and accused

them of “fight[ing] harder against us than do the Radical Left Dems.” He lamented their lack of




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fealty to him, stating if these governors “were with us, we would already have won both

Arizona and Georgia”:




       32.     Defendant Trump also attempted to pressure state electors to improperly overturn

the election results in their states. He directed particular attention to officials in Michigan,

Pennsylvania, and Georgia. He personally attempted to cajole these officials to overturn the

election results and directed his followers to intimidate these perceived adversaries.

               Michigan

       33.     In November 2020, bipartisan election officials in Wayne County, Michigan,

unanimously certified the election results for President Biden. Defendant Trump then tried to

pressure two Republican members of that board to change their minds. In response, these two




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officials in fact tried—unsuccessfully—to rescind their votes certifying the election results for

Biden.

         34.    Defendant Trump next contacted Michigan Senate Majority Leader Mike Shirkey

and Speaker of the Michigan House of Representatives Lee Chatfield. Defendant Trump

likewise pressured them to overturn Michigan’s election results, even inviting them to the White

House to discuss Defendant Trump’s plans. Those efforts, too, proved unsuccessful.

         35.    Undeterred, Defendant Trump falsely declared on December 5, 2021, “You know

I won almost every county in Michigan, almost every district. We should have won that state

very easily. We have a similar type of governor I think but I'll let you know that in about a

week.”

         36.    In what should have been an obvious sign of the risk inflammatory language

could pose, some of Defendant Trump’s followers heard his claims as a directive to act. And

they responded. A large group of armed protestors convened at the home of the Michigan

Secretary of State chanting, “Stop the steal!” and, “You’re a threat to our democracy!” and,

“You’re a threat to a free and honest election!” The protestors made explicit demands that she

overturn the state’s election results.

         37.    Defendant Trump’s efforts to overturn the election results in Michigan were

unsuccessful.

         38.    There were no election irregularities in Michigan sufficient to change the final

Presidential vote count in that state. Joe Biden won the Presidential vote in Michigan.

                Pennsylvania

         39.    Defendant Trump also attempted to interfere with officials in Pennsylvania.

Defendant Trump contacted Pennsylvania State Senate Majority Leader Kim Ward and



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Pennsylvania Speaker of the House of Representatives Brian Cutler. Defendant Trump directly

and falsely told Senator Ward, “There was fraud in the voting.”

       40.      On November 25, 2020, Defendant Trump participated by phone in a

Pennsylvania State Republican Senate policy hearing and attempted to convince the state

legislators that there had been massive fraud in the Commonwealth’s voting. Defendant Trump

spoke directly to the lawmakers, telling them, “This election has to be turned around.” He

further falsely claimed that he had won Pennsylvania and other swing states “by a lot.”

       41.      As he had done in Michigan, Defendant Trump invited Republican members of

the Pennsylvania legislature to the White House to pressure them to overturn the

Commonwealth’s election results.

       42.      Defendant Trump’s efforts to overturn the results in Pennsylvania were

unsuccessful.

       43.      There were no election irregularities in Pennsylvania sufficient to change the final

Presidential vote tally. Joe Biden won the Presidential vote in Pennsylvania.

                Georgia

       44.      Defendant Trump went to extraordinary lengths to overturn the election results in

Georgia, a reliably Republican stronghold for decades that Defendant Trump believed was in

unprecedented jeopardy. After Secretary of State Bradford Raffensperger (“Raffensperger”)

stated his belief that the state’s election results in favor of President Biden were accurate,

Defendant Trump lashed out at him. He called Raffensperger an “enemy of the people” and

directed at least 17 tweets at him, referring to him as a “disaster,” “obstinate,” and a “so-called

‘Republican[].’”




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       45.    In what should have been another warning to Defendant Trump about the impact

of his words, some of Defendant Trump’s followers responded to the claims of fraud and

Defendant Trump’s personal attacks on Raffensperger by targeting Raffensperger and his family

with violent threats. His wife was told, “Your husband deserves to face a firing squad.” He

himself was told, “You better not botch this recount . . . your life depends on it” and that he and

his family “should be put on trial for treason and face execution.”

       46.    In December 2020, Defendant Trump pressured Georgia Governor Brian Kemp to

hold a special session of the legislature to appoint electors who would cast electoral votes for

Defendant Trump.

       47.    That same month, Defendant Trump called the Chief Investigator for the Georgia

Bureau of Investigations, which was conducting an audit of signatures on absentee ballots.

Defendant Trump implored the investigator to “find the fraud” and told him that he would be a

“national hero” if he was successful in doing so.

       48.    On January 2, 2021, just days before Congress was set to certify the Electoral

College votes, Defendant Trump initiated a conversation with Raffensperger about the alleged

massive voter fraud in Georgia. The next day, Defendant Trump made many misrepresentations

about that conversation to sway public opinion, including that Raffensperger had “no clue”

about a number of alleged voting irregularities in the state. The media, however, obtained and

released an audio recording of that call. It showed Defendant Trump browbeating

Raffensperger to find enough evidence of fraud to change the state’s election result. Defendant

Trump claimed that Raffensperger was aware of election fraud—telling him “you know what

they did and you’re not reporting it.” Defendant Trump told Raffensperger that he had won the




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state of Georgia. Defendant Trump made an explicit request to Raffensperger: “I just want to

find 11,780 votes, which is one more than we have.”

       49.    There were no election irregularities in Georgia sufficient to change the election

outcome. Joe Biden won the Presidential vote in Georgia.

          Defendant Trump’s Attempts to Challenge the Results in Other States

       50.    In addition to Michigan, Pennsylvania, and Georgia, Defendant Trump took aim

at officials in other Republican-led jurisdictions for the same reasons.

       51.    Defendant Trump’s claims of widespread fraud and election-rigging were rebuked

by numerous executive agencies, including the Federal Bureau of Investigation, the Department

of Justice, and the Department of Homeland Security. Defendant Trump lashed out at them as

well, berating them for their refusal to address “the biggest SCAM in our nation’s history.”

Defendant Trump coupled this message with a call to action on January 6th:




       52.    On January 5, the night before the rally, Defendant Trump tweeted about the

thousands of people flooding D.C. who did not want to see the country “stolen” by “Radical

Left Democrats”:




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       53.    Then, less than 10 minutes later, he attacked “the weak and ineffective RINO

[Republican In Name Only] section of the Republican Party,” threatening that the “thousands of

people pouring into D.C. … won’t stand for a landslide election victory to be stolen”:




       54.    Defendant Trump’s close advisors spearheaded another arm of Defendant

Trump’s efforts to subvert the election: the numerous challenges in the courts. On Defendant

Trump’s behalf, his lawyers eventually filed 62 lawsuits seeking to undo the election results, all

in key battleground states.

       55.    All but one of those lawsuits were rejected outright. Judges appointed by

Republicans and Democrats—including judges appointed by Defendant Trump himself—

determined the claims were baseless. Judges derided the allegations in these suits as “without

merit” and “flat-out wrong.” One judge opined that what would “undermine the public’s trust in

the election” was not the alleged massive fraud Defendant Trump alleged, but the Court

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overturning the results of a landslide election based on no evidence of systemic wrongdoing at

all:




        56.   Focusing on the Defendants’ final means of subverting the election—blocking

certification of President Biden’s victory—Defendant Trump’s advisors advanced the argument

that Vice President Pence could unilaterally block certification of the Electrical College vote, a

position almost universally rejected by legal scholars, and by Vice President Pence himself.

        57.   At 6:34 p.m. on January 5, Defendant Trump’s advisor and lawyer Rudolph

Giuliani (“Giuliani”) tweeted a link to a YouTube video from his show “Common Sense”

entitled, “Watch this Before January 6th.” The video purported to explain why it was

permissible for Vice President Pence to block certification of the Electoral College vote the next

day. Giuliani tweeted a retweet of that post later that night and again the following morning,

shortly before Defendant Trump spoke at the rally.



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                    Defendant Trump’s Call to “Be There, will be wild!”
                         Is Understood To Be A Call To Violence

       58.    On December 19, 2020, Defendant Trump promoted a “[b]ig protest on January

6.” He told his followers to “Be there, will be wild!”:




       59.    Particularly considering Defendant Trump’s prior directive to a white supremacist

group—the Proud Boys—to “stand by,” Defendant Trump’s tweet was understood by his

followers to be a call to violence.

       60.    For example, within minutes of Defendant Trump’s “be wild” tweet, it was shared

on TheDonald.win with the title: “Trump Tweet. Daddy Says Be in DC on Jan 6.” One user

“EvilGuy,” said, in response to Trump’s call to action, “I will be open carrying and so will my

friends. We have been waiting for Trump to say the word. There is [sic] not enough cops in DC

to stop what is coming.”




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       61.    Other responses were in a similar vein. MrMcGreenGenes wrote “Well, shit.

We’ve got marching orders bois.” (“Bois” is likely a reference to the “Bugaloo Bois” a right-

wing extremist group.) Buttfart88 similarly understood Defendant Trump’s tweet as “marching

orders.”




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NamelessKing understood Defendant Trump’s tweet as a call to bring weapons to D.C. on the

same day Congress was to certify the Electoral College vote:




PepeVsCommies took this as signal to use “any means necessary”:




Perhaps most tellingly, SWORDofLIBERTY and justinkayz understood Defendant Trump’s

tweet as a call to do exactly what the rioters did—“burst into [the Capitol] by the thousands.”




Others discussed shooting police officers and bringing weapons.




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       62.     Defendant Trump knew that his supporters had interpreted his “will be wild”

tweet as a call to violence.

       63.     Some of Defendant Trump’s supporters engaged with the former president on

Twitter about their plans to be a part of his “Cavalry.”




       64.     Similarly, on Facebook, many people suggested or planned violence on January

6th in response to Defendant Trump’s tweet. For example, one California group built on “Trust,

Dedication, and Survival” promoted “Operation Occupy the Capitol” on January 6th and tagged

the post #wearethestorm and #1776Rebels.




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       65.    One conspiracy theorist, also a supporter of Defendant Trump, tweeted that he

was ready to die for the former president. The Arizona Republican Party actually retweeted his

message, asking its followers “He is [ready to die for Trump]. Are you?”

       66.    In response to Defendant Trump’s tweets calling people to Washington, D.C., on

January 6th, militia groups, including the Oath Keepers and Proud Boys, strategized an assault

on the Capitol by sharing maps of the Capitol and coordinating supplies and outfits to wear.

                       Defendant Trump Incites Violence at the Rally

       67.    At 10:00 p.m. on January 5, 2021, Defendant Trump put down his final marker,

declaring that Vice President Mike Pence had the authority to overturn the election results and

hand him a victory:




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       68.    Defendant Trump’s tweet was intended to convince the tens of thousands of

supporters who had traveled to D.C. for the rally that Vice President Pence was uniquely

situated to save Defendant Trump’s presidency.

       69.    By the morning of January 6th, thousands of Trump supporters—including

Defendants Khater and Tanios—had flooded Washington, D.C. Many were prepared for

violence and had plans to attack the Capitol. Many more were there for a political rally. The

extremists who had been plotting the attack breached the Capitol as planned. Defendant Trump

incited the other attendees to violence, whipping them into a frenzy and turning them into a

violent mob that participated in the attack.

       70.    The rally began at 7:00 a.m. on January 6, 2021.

       71.    The United States Secret Service had erected security checkpoints, including

metal detectors, at the entrance points to the rally. Some of Defendant Trump’s supporters

attempted to bring firearms—specifically AR-15 assault rifles—into the rally with them but

were turned away at the checkpoints. When Defendant Trump learned this was happening, he

became irate and said “Take the effing [magnetometers] away; I don’t care if they have

weapons, they’re not here to hurt me.”

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       72.    From the time the rally began until shortly after 1:00 p.m., a series of speakers

took the stage to lash out against the election results and to demand action by lawmakers. Each

speaker rallied the crowd with incendiary language, telling the crowd that President Biden “did

not win this election!”; that “America is at risk unlike it has been in decades, maybe centuries;

that “our ancestors sacrificed their blood, their sweat, their tears, their fortunes, and sometimes

their lives, to give us, their descendants, an America that is the greatest nation in world history.

So I have a question for you: Are you willing to do the same? My answer is yes.”; and that it

was time for “trial by combat.”

       73.    Defendant Trump, standing backstage, heard each speaker say all those things to

the crowd, and heard the crowd cheer in response.

       74.    Defendant Trump was the final speaker at the rally. He began his remarks at

approximately 12:00 p.m. and concluded around 1:15 p.m., just after the first coordinated

skirmishes between members of the militia groups and U.S. Capitol Police officers were

breaking out at the Capitol.

       75.    In his remarks, Defendant Trump said “We took them by surprise and this year,

they rigged an election. They rigged it like they’ve never rigged an election before.”

       76.    Defendant Trump continued that “Hundreds of thousands of American patriots are

committed to the honesty of our elections and the integrity of our glorious Republic. All of us

here today do not want to see our election victory stolen by emboldened radical left Democrats,

which is what they’re doing and stolen by the fake news media. That’s what they’ve done and

what they’re doing. We will never give up.”

       77.    Defendant Trump also said “We will never concede, it doesn’t happen. You don’t

concede when there’s theft involved. Our country has had enough. We will not take it anymore



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and that’s what this is all about. To use a favorite term that all of you people really came up

with, we will stop the steal.” In referring to “the steal,” Defendant Trump meant the

certification of Joe Biden as President, which was underway at the Capitol.

       78.    As the crowd chanted “Fight for Trump,” Defendant Trump responded, “we will

not let them silence your voices. We’re not gonna let it happen.”

       79.    Defendant Trump gave the people—some of whom he knew had brought firearms

and other weapons with them—permission to break the rules; he told them that “[w]hen you

catch somebody in a fraud, you’re allowed to go by very different rules.”

       80.    While Defendant Trump was speaking, at around 12:45 p.m., a pipe bomb was

found in front of the Republican National Committee headquarters. A second pipe bomb was

found at the Democratic National Committee headquarters about thirty minutes later.

       81.    Defendant Trump continued to incite the crowd and concluded his speech by

reminding the crowd that they’ll “never take back our country with weakness. You have to

show strength, and you have to be strong.” He told the crowd to “walk down Pennsylvania

Avenue. I love Pennsylvania Avenue. And we’re going to the Capitol … But we’re going to

try and give our Republicans, the weak ones because the strong ones don’t need any of our help.

We’re going to try and give them the kind of pride and boldness that they need to take back our

country.” The crowd cheered in response.




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                                Violence Starts At The Capitol

       82.    Defendant Trump put out a clear call to action, and the crowd—including

Defendants Khater and Tanios—responded. As Defendant Trump was instructing them to go to

the Capitol, an early flank of insurgents had already forced their way through barricades and

attempted to breach the building, while blasting Defendant Trump’s speech on a bullhorn.

       83.    The violence escalated quickly after that. After Defendant Trump’s speech

ended, insurgents charged the hill surrounding the Capitol and began scaling the building’s

outer walls. Officers reported rioters were attacking them with metal poles. Law enforcement

and local leaders put out calls for help. Officers called for reinforcements as the mob pulled

down the gates erected to protect the Capitol and attacked officers.

       84.     At 1:34 p.m., the House Sergeant at Arms and D.C. Mayor Muriel Bowser both

asked for the National Guard’s assistance in protecting the Capitol.

       85.    At around 1:45 p.m., frenzied Trump supporters surged past U.S. Capitol police

officers who were protecting the Capitol’s West steps. One officer declared, “We’re going to

give riot warnings. We’re going to try to get compliance. But this is now effectively a riot.”




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       86.    Meanwhile, sitting in the White House, Defendant Trump did nothing to stop

what was occurring and instead encouraged the mob to continue the violence. At the same time

the frenzied scene was declared a riot, Defendant Trump tweeted his speech from the rally:




       87.    About half an hour later, at 2:12 p.m., insurgents breached the U.S. Capitol: they

broke windows using riot shields and poles, climbed into the building, and opened the doors for

the mob to storm the interior of the building. Some of those insurgents were wearing military

helmets and full tactical gear; others carried baseball bats, Trump flags, hockey sticks, and

crutches; they had flex cuffs and climbing gear; some were equipped with their own radio

system; others had stun guns and other weapons:




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       88.    As the mob was running rampant through the U.S. Capitol, Secret Service Agents

ushered Vice President Pence off the Senate floor. The mob chanted, “Hang Mike Pence!”

Insurgents outside the Capitol erected a noose and gallows:




       89.    At approximately 2:09 p.m., Defendants Khater and Tanios walked on restricted

grounds and proceeded from the south grassy area of the Capitol toward the Lower West

Terrace.

       90.    After separating briefly, Defendants Khater and Tanios reunited at approximately

2:14 p.m. near the police barricade on the steps of the south side of the Lower West Terrace.

Defendant Khater told Defendant Tanios, “Give me that bear shit,” and then reached his hand

into Defendant Tanios’ backpack and retrieved a white canister of chemical spray.

       91.    While still trespassing in the restricted grounds of the U.S. Capitol, Defendant

Tanios encouraged other rioters, and videotaped the rioters assaulting police.

       92.    By 2:20 p.m., U.S. Capitol Police announced the U.S. Capitol had been breached

and was on full lockdown.

       93.    Around that same time, Defendants Khater and Tanios were engaged in a

confrontation with law-enforcement officers, including Officer Sicknick, who were guarding the

Lower West Terrace of the Capitol. They and others began pulling down barriers and assaulting

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and attacking officers with their hands and feet and other objects. From less than 8 feet away,

Defendant Khater sprayed Officer Sicknick in the face with the chemical spray Defendant

Tanios had brought with them.




       94.    Officer Sicknick turned his head away and retreated from the police line,

incapacitated by chemical spray. Defendant Khater continued to deploy the spray, now

advancing towards at least two other officers, and sprayed them directly in their faces from only

a few feet away.

       95.    At 2:24 p.m., almost an hour after rioters descended on the U.S. Capitol, and as

they were storming the hallways, Defendant Trump sent out a tweet with the clear intent to

further inflame the mayhem, and which directly imperiled his Vice President: “Mike Pence




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didn’t have the courage to do what should have been done to protect our Country and our

Constitution.”




       96.       This tweet was repeated in real time by rioters at the U.S. Capitol on megaphones

as it was clear they understood Defendant Trump’s tweet to be encouragement for further

violence.

       97.       In response to this tweet, members of the mob continued to chant “Hang Mike

Pence!” and “Mike Pence is a Bitch!” as they continued their siege.

       98.       In a phone call between Trump and House Minority Leader Kevin McCarthy (R-

CA), McCarthy begged Trump to call off the rioters, pleading with Defendant Trump that the

rioters were all Trump supporters. In response, Defendant Trump told McCarthy, “Well, Kevin,

I guess these people are more upset about the election than you are.”

       99.       While the wild mob grew more violent, climbed over balconies, and erected

nooses in front of the U.S. Capitol, Defendant Trump’s staff and advisors were pleading with

him to address the nation and put an end to the violence. At 2:38 p.m., an hour after the first

breach, Defendant Trump obliged, but stopped far short of calling off the mob or condemning

the assault that was still underway:




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       100. At around 2:44 p.m., Ashli Babbit, an Air Force veteran and Trump supporter,

was shot and killed by U.S. Capitol Police as she attempted to breach a secure entrance to the

Speaker’s Lobby inside the Capitol. By 3:00 p.m., the District of Columbia issued notice of an

emergency citywide curfew to begin at 6 p.m.

       101. Meanwhile, the mob inside the Capitol shouted, “We want Trump!” The mob

continued attacking officers with a variety of munitions—rocks, bottles, metal poles, bear spray,

and pepper spray. Officers reported being “flanked” and “los[ing] the line.” For hours, officers

were forced into hand-to-hand combat to prevent more rioters from entering the Capitol.

       102. All these events were widely reported in print, television, and online media

outlets, and Defendant Trump and the other Defendants were aware of this coverage.

       103. At 4:17 p.m., Defendant Trump tweeted a recorded video directed to his

supporters as they continued to ransack the Capitol:




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In the video, Defendant Trump told the mob, “I know your pain, I know you’re hurt,” and

repeated his lies about a stolen election that had driven the insurgents to the U.S. Capitol in the

first place. In the same breath he told the mob to go home, he also said, “We love you. You’re

very special.”

        104. Predictably, just as Defendant Trump had intended, the mayhem continued.

        105. At around 5:40 p.m. the police began to clear the U.S. Capitol and Congressional

leaders announced they would proceed with the certification of the Electoral Votes. By that

time, the mob had thoroughly pillaged the premises: they had shattered windows, damaged

statues, broken doors, vandalized offices, stolen laptops, desecrated the Speaker’s office,

shattered a mirror, and stolen the Speaker’s lectern. In total, six people—including Officer

Sicknick—lost their lives directly because of the riot, 140 officers were injured, and scores of

people were left emotionally and/or physically damaged.

        106. At 6:01 p.m., five hours after rioters had begun their siege on the U.S. Capitol and

had threatened to kill Vice President Pence and others, Defendant Trump finally released a

statement that directly addressed the violence. Once again, the message fell well short of a

forceful condemnation or rebuke. In another recorded video, Defendant Trump chided that

“These are the things and events that happen when a sacred landslide victory is so

unceremoniously & viciously stripped away from great patriots who have been badly & unfairly

treated for so long.” He then told the members of the violent mob, who continued to occupy the

Capitol and terrorize Plaintiffs and other members to “Go home with love & in peace.

Remember this day forever!”




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       107. Many of the rioters cited Defendant Trump himself as the inspiration for their

violent actions. For example, the “QAnon Shaman” Jacob Anthony’s attorney explained that

“he came as a part of a group effort, with other ‘patriots’ from Arizona, at the request of the

President that all ‘patriots’ come to D.C. on January 6, 2021.”

       108. Around 10:00 p.m. on January 6, 2021, Officer Sicknick, who was still at the

Capitol, collapsed and was rushed to a nearby hospital for treatment. Around 9:30 p.m. the next

day, Officer Sicknick died.

       109. According to the District of Columbia’s Chief Medical Examiner, Officer

Sicknick died of “natural causes”—specifically, a series of strokes. The Medical Examiner

further stated that “all that transpired on [January 6] played a role in his condition” that led to

his death.

       110.    In a preceding lawsuit arising out of the events of January 6, the Honorable Amit

Mehta of this Court ruled on February 18, 2022, that Defendant Trump’s statements to his

supporters before the riot “is the essence of civil conspiracy,” because Defendant Trump

spoke about himself and rallygoers working “towards a common goal” of fighting and

walking down Pennsylvania Avenue. Judge Mehta also noted that “The President’s

January 6 Rally Speech can reasonably be viewed as a call for collective action.”




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       111.    On March 28, 2022, the Honorable David Carter of the United States District

Court for the Central District of California ruled in a subpoena dispute between the House

of Representatives committee investigating the January 6th attack and John Eastman, one of

Defendant Trump’s close advisors in his efforts to overturn the election results, that certain

documents were not protected by the attorney-client privilege under the crime-fraud

exception because Defendant Trump’s actions leading up to January 6 “more likely than

not constitute[d] attempts to obstruct an official proceeding” and that Eastman and others

had conspired with him to do just that.

       112.    In July and August 2022, Defendants Khater and Tanios signed factual

proffers as part of their plea agreements in which they admitted to their crimes that day.

Defendant Tanios’s signed proffer admits to trespass and disorderly conduct; Defendant

Khater’s proffer admits to “assaulting, resisting, or impeding [Officer Sicknick] using a

dangerous weapon.” Both men have since been sentenced for these crimes.

       113.    On November 29, 2022, Oath Keepers leader Stuart Rhodes and his associate,

Kelly Meggs, were convicted in this Court of seditious conspiracy for their actions on January 6.

        114. On December 28, 2022, the Honorable John Bates from this District ruled in

a criminal case of one of the January 6th defendants that Defendant Trump’s incendiary

rhetoric—especially telling his supporters to “fight like hell”—may suggest Trump was asking

them to break the law. Judge Bates noted that Defendant Trump’s words “could signal to

protesters that entering the Capitol and stopping the certification would be unlawful.”

        115. On June 30, 2021, the House of Representatives passed House Resolution 503,

which established the bipartisan Select Committee to Investigate the January 6th Attack on the

United States Capitol (“Select Committee”). The Select Committee interviewed more than a



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thousand witnesses—many of whom were members of Defendant Trump’s administration and

inner circle of advisors—and held 9 public hearings to present its key findings to the American

public.

          116. After 18 months of investigation, the Select Committee released a final report in

December 2022 totaling almost 900 pages that contained specific findings about Defendant

Trump’s efforts to overturn the 2020 election results, including the following key takeaways:

                a. “[The] evidence has led to an overriding and straight-forward conclusion: the

                    central cause of January 6th was one man, former President Donald Trump,

                    who many others followed. None of the events of January 6th would have

                    happened without him”;

                b. “Beginning election night and continuing through January 6th and thereafter,

                    Donald Trump purposely disseminated false allegations of fraud related to the

                    2020 Presidential election in order to aid his effort to overturn the election and

                    for purposes of soliciting contributions. These claims provoked his supporters

                    to violence on January 6th”;

                c. “Based on false allegations that the election was Stolen, Donald Trump

                    summoned tens of thousands of supporters to Washington for January 6th.

                    Although these supporters were angry and some were armed, Donald Trump

                    instructed them to march to the Capitol on January 6th to ‘take back’ their

                    country”; and

                d. “Each of these actions by Donald Trump was taken in support of a multi-part

                    conspiracy to overturn the lawful results of the 2020 Presidential election.”




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       117. The Select Committee also made a number of criminal referrals as to Defendant

Trump to the Department of Justice’s Special Counsel based on its finding of “sufficient

evidence of one or more potential violations” of the following statutes (among others):

              a. Obstruction of an Official Proceeding (18 U.S.C. § 1512(c)). The Select

                  Committee found that Defendant Trump “knew that his actions were likely to

                  ‘obstruct, influence, or impede’” the joint session of Congress on January 6th

                  and because he acted with a “corrupt” purpose in seeking to pressure Vice

                  President Mike Pence to prevent certification of the electoral votes that day.

                  The Select Committee also found that Defendant Trump was “also responsible

                  for recruiting tens of thousands of his supporters to Washington” that day, and

                  that “knowing they were angry and some were armed, instructing them to

                  march to the Capitol and ‘fight like hell.’”

              b. Incite, Assist, or Aid and Comfort an Insurrection (18 U.S.C. § 2383).

                  The Select Committee found that Defendant Trump was “directly responsible”

                  for summoning “what became a violent mob to Washington, D.C.” and then

                  “further provoking the already violent and lawless crowd with his 2:24 p.m.

                  tweet about the Vice President.” The Select Committee further found that

                  Defendant Trump “refused to condemn the violence or encourage the crowd

                  to disperse” once the attack on the Capitol was underway. Ultimately, the

                  Select Committee concluded that “[b]oth the purpose and the effect of

                  [Defendant Trump’s] actions were to mobilize a large crowd to descend on the

                  Capitol” and that there was “significant evidence that President Trump

                  intended to disrupt the peaceful transition of power” on January 6.



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      c. Other Conspiracy Statutes (18 U.S.C. § 372 and 2384). The Select

         Committee found that Defendant Trump’s “actions with the knowledge of the

         risk of violence” could also constitute conspiracy “‘to prevent, by force,

         intimidation, or threat, any person from accepting or holding office, trust, or

         place of confidence under the United States, or from discharging any duties

         thereof …’” and/or conspiracy “‘to overthrow, put down, or to destroy by

         force the Government of the United States ….”




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                                            IV.
                                     CLAIMS FOR RELIEF

                                            COUNT 1
                                         Wrongful Death
                                       D.C. Code § 16-2701
                                     (Against all Defendants)

       118. The Plaintiff re-alleges and incorporates by reference paragraphs 27 – 117 above,

inclusive.

       119. A violation of D.C. Code § 16-2701 occurs when

                            a. By an injury done or happening within the limits of the District;

                            b. The death of a person is caused;

                            c. By the wrongful act, neglect, or default of a person or corporation.

       120. As described more fully in this Complaint, on January 6, 2021, a mob of

individuals incited by Defendant Trump and others, including Defendants Khater and Tanios,

stormed the U.S. Capitol.

       121. Before directing the mob to the Capitol, Defendant Trump instructed them to

“fight like hell” and declared that “you’re allowed to go by very different rules” and “you have

to show strength.” Defendant Trump intended these words to be taken literally.

       122. For several hours after the mob had stormed the Capitol, Defendant Trump

refused to communicate anything to the mob that might discourage continued unlawful action,

and thus ratified and approved of its actions.

       123. Defendant Trump intentionally riled up the crowd and directed and encouraged a

mob to attack the U.S. Capitol and attack those who opposed them. The violence that followed,

and the injuries that violence caused, including the injuries sustained by Officer Sicknick and




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his eventual death, were reasonable and foreseeable consequences of Defendant Trump’s words

and conduct.

        124. Officer Sicknick was inside the U.S. Capitol as the mob gathered outside. The

mob, including Defendants Khater and Tanios, attacked Officer Sicknick and other law

enforcement officers protecting the Capitol and intentionally and unlawfully forced its way

inside the building.

        125. Many individuals in the mob, including Defendants Khater and Tanios, either

carried weapons or used objects such as poles and fire extinguishers as weapons before and after

entering the building. Some individuals in the mob also carried restraints such as plastic

handcuffs and rope.

        126. The mob, including Defendants Khater and Tanios, also unlawfully and

intentionally entered non-public areas of the U.S. Capitol building, including Members’ private

offices. It damaged and vandalized personal and public property and stole documents,

electronics, and other items from some members’ offices.

        127. As the mob made its way through the U.S. Capitol, participants threatened to kill

numerous individuals, including, but not limited to, law enforcement officers, Vice President

Mike Pence, and Speaker of the House Nancy Pelosi. The mob terrorized and injured scores of

people inside and outside of the U.S. Capitol, including Officer Sicknick.

       128.    After rioters broke through the police line where he was stationed, individuals in

the mob, including Defendants Khater and Tanios, intentionally and forcibly assaulted Officer

Sicknick and others. Defendant Khater sprayed Officer Sicknick in the face with chemical spray,

which incapacitated Officer Sicknick and left him unable to defend himself from the mob.




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       129.     As a direct result of the attack by Defendants Khater and Tanios and others—

which Defendant Trump instigated—Officer Sicknick suffered physical injuries.

       130. The following day, on January 7, 2021, Officer Sicknick tragically died.

       131. All that transpired on January 6—including the actions taken by Defendants

Trump, Khater, and Tanios—played a significant role in the medical condition that led to

Officer Sicknick’s death the following day.

       132. Defendant Trump was aware that his actions prior to and on January 6, 2021,

promoted and encouraged the mob to violently storm the Capitol.

       133. The Defendants are liable to the Plaintiff, who is the duly qualified Executor of

the personal estate of Brian Sicknick, for their acts which caused Officer Sicknick’s death.

       134. The Plaintiff has suffered financial loss from Officer Sicknick’s death in the form

of lost financial support that Officer Sicknick furnished or could have been expected to provide

in the future, had he lived.

       135. The Plaintiff has suffered further financial loss from Officer Sicknick’s death in

the form of the reasonably calculable value of services that Officer Sicknick would have

provided to Ms. Garza in the form of care, guidance, personal advice, and other pecuniary

benefits that she and the Estate might reasonably have expected to derive from Officer Sicknick

had he lived.

       136. Officer Sicknick’s death was a reasonable and foreseeable consequence of

Defendants’ intentional words and actions.

        137. For all these reasons, the Defendants are directly and vicariously liable to the

Plaintiff for the wrongful death of Officer Sicknick and for all damages arising therefrom.




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                                          COUNT 2
                                       Survivor’s Action
                                      D.C. Code § 12-101
                                    (Against all Defendants)

        138. The Plaintiff re-alleges and incorporates by reference paragraphs 27-137 above,

inclusive.

        139. As more fully described in this Complaint, the Defendants actions directly and

negligently caused the Wrongful Death of Officer Brian Sicknick.

        140. Pursuant to the Survival Act, D.C. Code § 12-101, Officer Brian Sicknick’s right

of action for wrongful and negligent conduct against the Defendants survives in favor of the

Plaintiff.

        141. As a result of Officer Sicknick’s death, Plaintiff has been deprived of his care,

love, attention, companionship, and comfort which he would have provided had he not died as a

result of the Defendants wrongful conduct.

        142. Plaintiff is entitled to compensatory damages as the surviving party.


                                          COUNT 3
             Conspiracy to Violate Civil Rights (Interference with Official Duties)
                                     42 U.S.C. § 1985(1)
                                   (Against all Defendants)

        143. The Plaintiff re-alleges and incorporates by reference paragraphs 27 – 142 above,

inclusive.

        144. A violation of 42 U.S.C. § 1985(1) occurs when two or more persons conspire to

do any one or more of the following:

                          a. “prevent by force, intimidation, or threat, any person from

                   accepting or holding any office, trust, or place of confidence under the United

                   States”;

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                          b. “[prevent an official by force, intimidation, or threat] from

                  discharging any duties thereof”;

                          c. “induce by like means any officer of the United States to leave any

                  State, district, or place, where his duties as an officer are required to be

                  performed”;

                          d. “injure [an official] in [their] person or property on account of

                  [their] lawful discharge of the duties of [their] office, or while engaged in the

                  lawful discharge thereof”; and/or

                          e. “injure [an official’s] property so as to molest, interrupt, hinder, or

                  impede [them] in the discharge of [their] official duties.”

       145. As described more fully in this Complaint, the Defendants, by force, intimidation,

or threat, agreed and conspired with one another and others to undertake a course of action to

prevent Congress and Vice President Mike Pence from discharging their duties to count the

Electoral College Vote and certify President Biden and Vice President Harris as the winners of

the 2020 presidential election. In this effort the Defendants induced Congress and Vice

President Pence to leave the Capitol while they were performing their official duties, as required

by the 12th Amendment and federal law, by interrupting, hindering, and impeding the

performance of those duties.

       146. As described more fully in this Complaint, Defendant Trump and others made

public statements knowingly designed to undermine public confidence in the election. Such

statements included falsely claiming that the election had been “rigged” and that fraudulent

voting had been widespread enough to affect the outcome. These statements were intended to

have the effect, and did have the effect, of communicating strategies of for accomplishing the



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aims of the illegal conspiracy to other members of the conspiracy, including Defendants Khater

and Tanios and other people who took violent action on January 6, 2021.

       147. Defendant Trump encouraged, directed, and incited others to confront state and

local officials to build public support for Defendant Trump’s false claims of election-rigging

and fraud. These statements were intended to have the effect, and did have the effect, of

communicating strategies of for accomplishing the aims of the illegal conspiracy to other

members of the conspiracy, including Defendants Khater and Tanios and other persons who

took violent action on January 6, 2021.

       148. Defendant Trump promoted, supported, and endorsed a rally near the White

House on January 6, 2021, the very same day lawmakers participated in a joint session of

Congress to count and certify the Electoral College votes from the 2020 presidential election.

       149. Among other purposes, the purpose of the rally was to gather a crowd in an effort

to incite them to disrupt the certification of the Electoral College votes by Congress and to deny

President Biden and Vice President Harris their respective offices.

       150. Defendant Trump tweeted to his supporters that the January 6 rally “will be

wild!” and in fact tens of thousands of his supporters made the trip to the District to participate

in the event. Many of those supporters, including Defendants Khater and Tanios, understood

Defendant Trump’s tweet to be a call to violent action to stop Congress from certifying the

Electoral College vote. Defendant Trump’s tweets were, in essence, an offer to join a

conspiracy to disrupt Congress. By answering his call, conspirators indicated their agreement to

his unlawful conspiracy to disrupt Congress and deny office to President Biden and Vice

President Harris.




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       151. Defendant Trump addressed the large crowd at the January 6 rally. He said “they

rigged an election. They rigged it like they’ve never rigged an election before.” He said “We

will never concede, it doesn’t happen. You don’t concede when there’s theft involved. Our

country has had enough. We will not take it anymore and that’s what this is all about.” Right

before turning the crowd loose on the Capitol, Defendant Trump exclaimed, “You’ll never take

back our country with weakness. You have to show strength, and you have to be strong.”

Defendant Trump intended these words as a threat of violence or intimidation to coerce

Congress to disregard the results of the election. The other Defendants were aware of

Defendant Trump’s remarks and endorsed and supported them as part of, and in furtherance of,

the conspiracy.

       152. Through his words and conduct, Defendant Trump endorsed and ratified the

violent actions of the insurrectionists who attacked the Capitol, including Defendants Khater

and Tanios.

       153. Under § 1985, any “party so injured or deprived” as a result of acts committed in

furtherance of the conspiracy “may have an action for the recovery of damages occasioned by

such injury or deprivation against any one or more of the conspirators.”

       154. Officer Sicknick (through his personal representative, Plaintiff Sandra Garza) is a

“party so injured or deprived” by acts committed by Defendants in furtherance of the

conspiracy.

       155. In addition to interfering with Congress’ and the Vice Presidents’ official duties,

the Defendants’ conspiracy directly interfered with Officer Brian Sicknick’s official duties as a

Capital Police Officer.




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          156. Pursuant to 2 U.S.C. § 1961 et seq., U.S. Capitol Police Officer Brian Sicknick

had a lawful duty to police and protect the Capitol and its grounds on January 6, 2021.

          157. As set forth in this Complaint, the Defendants interfered with Officer Sicknick’s

duties when they assaulted him and other law enforcement officers guarding the Capitol’s

Lower West Terrace.

          158. As set forth in this Complaint, Defendant Tanios, in conspiracy with the other

defendants, has admitted to engaging in disorderly and disruptive conduct that interfered with

Officer Sicknick in his capacity as a Capitol Police Officer.

          159. As set forth in this Complaint, Defendant Khater, in conspiracy with the other

defendants, has admitted to assaulting Officer Sicknick and caused him bodily injury which

incapacitated him and rendered him unable to perform his duties while he recovered from the

chemical spray attack.

                                           COUNT 4
                                       Negligence Per Se
                (Violation of D.C. Code §§ 22-1322 – Rioting or Inciting to Riot)
                                    (Against all Defendants)

   160.         The Plaintiff re-alleges and incorporates by reference paragraphs 27 – 159 above,

inclusive.

   161.         D.C. Code § 22-1322 makes it a criminal offense to “willfully engage in a riot”

and to “willfully incite[] or urge[] other persons to engage in a riot.” D.C. Code § 22-1322(b),

(c). The statute defines a “riot” as “a public disturbance involving an assemblage of 5 or more

persons which by tumultuous and violent conduct or the threat thereof creates grave danger of

damage or injury to property or persons.” D.C. Code § 22-1322(a).

   162.         Section 22-1322, on its face, is a statute designed to promote public safety.




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   163.         Defendant Trump violated that statute through his willful conduct by, among

other things:

                a. insisting for several weeks that the country was no longer a functioning

                   republic, but instead was literally being seized in a massive, coordinated act of

                   fraud;

                b. repeating those same falsehoods to the assembled crowd on January 6;

                c. then—while knowing the propensity of some of Defendant Trump’s

                   supporters to engage in political violence and knowing that some of his

                   supporters had brought weapons with them to the rally—saying the following

                   highly inflammatory things, among others:

                        i. “you have to fight like hell”;

                       ii. “you’re allowed to go by very different rules”; and

                      iii. “you have to show strength.”

   164.         Defendant Trump, in short, convinced the mob that something was occurring

that—if actually true—might indeed justify violence, and then sent that mob, including

Defendants Khater and Tanios, to the Capitol with violence-laced calls for immediate action.

   165.         Defendant Trump further demonstrated his willfulness in inciting the riot by

refusing to call it off for hours as it wreaked havoc, even telling House Minority Leader Kevin

McCarthy that their actions proved they simply cared more about the election that McCarthy

did. When Defendant Trump did finally address the mob, he did so intentionally in highly

equivocal language that largely praised them and blamed the riot on the alleged election fraud.

   166.         Defendants Khater and Tanios violated D.C. Code § 22-1322 by actively

participating in a riot, including, among other things, physically assaulting Officer Sicknick.



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   167.       Officer Sicknick was directly harmed by the actions of Defendants Khater and

Tanios and others and died as a result of that harm.

   168.       The Defendants are therefore directly and vicariously liable to the Plaintiff for

negligence per se, and for all damages arising therefrom.



                                          COUNT 5
                                       Negligence Per Se
                         (Violation of 18 U.S.C. § 1752(a)(2) and (4))
                          (Against Defendants Khater and Tanios)

   169.       The Plaintiff re-alleges an incorporates by reference paragraphs 27- 168 above,

inclusive.

   170.       Federal Law 18 U.S.C. § 1752(a)(2) makes it a crime to knowingly, and with

intent to impede or disrupt the orderly conduct of Government business or official function,

engage in disorderly or disruptive conduct within restricted grounds; and subsection (4) makes it

a crime to knowingly engage in any act of physical violence against any person or property in

any restricted building or restricted grounds.

   171.       The United States Capitol and its Lower West Terrace were restricted buildings or

grounds on January 6, 2021, as they were buildings where a person protected by the Secret

Service was temporarily visiting and were restricted in conjunction with an event designated as

a special event of national significance—the counting of Electoral College votes pursuant to 18

U.S.C. § 1752(c)(1)(B) and (C).

   172.       18 U.S.C. § 1752(a)(2) and (4) is, on its face, a criminal statute designed to

protect public safety.

   173.       Defendants Khater and Tanios violated this statute, by, among other things,

participating in a riot at the U.S. Capitol and the assault upon Officer Sicknick as more fully

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described in this Complaint, during the certification of Electoral College votes while Vice

President Mike Pence was visiting the Capitol.

   174.        Officer Brian Sicknick is a member of the class of persons to be protected by this

statute.

   175.        Defendants Khater and Tanios are persons upon whom the statute imposes the

specific duty to refrain from disorderly conduct or acts of violence while entering into a

restricted building or grounds.



                                            V.
                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully requests this Court to enter a judgment in her

favor and grant relief against the Defendants as follows:

               (1)    Order the Defendants to pay actual money damages of not less than

       $10,000,000 to the Plaintiff, the specific amount to be determined at trial;

               (2)    Order the Defendants to pay punitive damages to the Plaintiff in an amount

       to be determined at trial;

               (3)    Award the Plaintiff reasonable attorneys’ fees and costs for the investigation

       and prosecution of this action; and

               (4)    Grant any such additional relief as the Court deems just and proper.




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                               JURY DEMAND

The Plaintiff demands a trial by jury by the maximum number of jurors permitted by law.



Dated: May 31, 2023          Respectfully submitted,


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                                           KAISERDILLON PLLC
                                           Matthew Kaiser (D.C. Bar No. 486272)
                                           Noah Brozinsky (D.C. Bar No. 1655789)
                                           1099 Fourteenth Street, N.W., 8th Fl.
                                           Washington, D.C. 20005
                                           Tel: (202) 640-2850
                                           Email: mkaiser@kaiserdillon.com
                                                   nbrozinksy@kaiserdillon.com


                                           ______________________________
                                           CALEBANDONIAN PLLC
                                           Philip Andonian (D.C. Bar No. 490792)
                                           Joseph Caleb (D.C. Bar No. 495383)
                                           1100 H Street, N.W. – Ste. 315
                                           Washington, D.C. 20005
                                           Tel: (202) 953-9850
                                           Email: phil@calebandonian.com
                                                   joe@calebandonian.com


                                           ______________________________
                                           Mark S. Zaid, Esq. (D.C. Bar #440532)
                                           Bradley P. Moss, Esq. (D.C. Bar #975905)
                                           Mark S. Zaid, P.C.
                                           1250 Connecticut Avenue, N.W.
                                           Suite 700
                                           Washington, D.C. 20036
                                           (202) 454-2809
                                           (202) 330-5610 fax
                                           Mark@MarkZaid.com
                                           Brad@MarkZaid.com

                                           Attorneys for Plaintiff




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